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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       21-CR-128 (APM)
                                              )
JESSICA WATKINS                               )


CLARIFICATION TO DEFENDANT’S MOTION FOR RELEASE AND ADDITIONAL
                      LETTER OF SUPPORT


       Jessica Watkins, through counsel, respectfully submits this clarification to her motion for

release pending the outcome of her case. Counsel apologizes for being less than clear on a

couple of points raised in the original motion – something that unfortunately became obvious by

media inquiries. Counsel in no way meant to imply that Ms. Watkins met with the Secret

Service. A better verb would have been “encountered.” Ms. Watkins spoke with Secret Service

members early in the day when she was coming through the check in point for the VIP area. The

point counsel was attempting to make was that she encountered law enforcement, including

Secret Service officer on her way to providing security for the rally. She was given directives

about things she could and could not do, including directions to leave all tactical gear outside of

the VIP area, and she abided by all of those directives. Ms. Watkins does not suggest that she

has any direct knowledge that her role as security was sanctioned by anyone other than people

involved in organizing the rally. She certainly did not mean to suggest that she was hired by the

U.S. Secret Service to perform security. Counsel again apologizes for any confusion created by

the inartful language used in the motion.

       Second, Ms. Watkins wants the Court to know that she has not been mistreated by the

staff at the D.C. Central Treatment Facility. To date, while in the custody of the D.C.

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Department of Corrections, she has been treated with respect and dignity. That was not her

experience prior to her arrival in the District of Columbia. Counsel has been contacted by the

Butler County Sherriff’s Department, which disputes the description of Ms. Watkins’ treatment

at their facility, but acknowledges she was placed on suicide protocols. Ms. Watkins denies ever

being suicidal or expressing suicidal thoughts, and stands by her assertions that she was placed

on suicide watch for retaliatory reasons despite repeated assertions that she was not suicidal.

       Finally, Counsel is attaching an additional letter of support that arrived after the prior

submission.

                                                      Respectfully submitted,


                                                      A. J. KRAMER
                                                      FEDERAL PUBLIC DEFENDER
                                                                /s/
                                                      _____________________________
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